     IN THE UNITED STATE DISTRICT COURT MIDDLE DISTRICT OF TENNESSEE
                               AT NASHVILLE                      Motion GRANTED.

UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )            Criminal No. 3:11-CR-12
                                                 )            Judge Trauger
CORNEL OLIVER, et al.                            )


 DEFENDANT OLIVER’S MOTION TO JOIN THE JOINT MOTION TO DECLARE CASE
    EXTENDED AND COMPLEX, PERMIT INTERIM VOUCHERING, AND ORDER
                     BUDGETING AS A MEGA-CASE

       Comes Now the Defendant Cornel Oliver by and through his undersigned counsel and

respectfully request that he be permitted to join the JOINT MOTION TO DECLARE CASE TO

BE AN EXTENDED AND COMPLEX “MEGA-CASE,” AND TO AUTHORIZE CASE

BUDGETING AND INTERIM BILLING (Docket Entry 454) filed on July 4, 2011. In support

of said Motion, Defendant, Cornel Oliver, states that this Honorable Court has already granted

the Joint Motion filed by four (4) co-defendants. For the sake of cost effectiveness, Defendant

Cornel Oliver is not requesting to re-litigate the issues already put before this Court regarding the

complexity and extended nature of this case. Instead, Defendant, Cornel Oliver requests that for

the same reasons previously addressed by this Court, this Motion also be granted with respect to

Cornel Oliver.

                                                      Respectfully Submitted:


                                                      __//Signed//__________________
                                                      R. LANCE MILLER
                                                      BRP # 025875
                                                      212 Madison Street, Suite 101A
                                                      Clarksville, TN 37040
                                                      lance@lancemillerlaw.com
                                                      Telephone: (931) 802-6180
                                                      Fax: (931) 802-6182




 Case 3:11-cr-00012        Document 480        Filed 07/20/11      Page 1 of 1 PageID #: 1693
